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         DENTONS US LLP

            (213) 623-9300




                                              Debtors In Possession
                                        12

                                        13                              UNITED STATES BANKRUPTCY COURT

                                        14                   CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

                                        15    In re                                                  Lead Case No. 2:18-bk-20151-ER
                                        16    VERITY HEALTH SYSTEM OF                                Jointly administered with:
                                              CALIFORNIA, INC., et al.,                              Case No. 2:18-bk-20162-ER;
                                        17                                                           Case No. 2:18-bk-20163-ER;
                                                     Debtors and Debtors In Possession.              Case No. 2:18-bk-20164-ER;
                                        18                                                           Case No. 2:18-bk-20165-ER;
                                                  Affects All Debtors                                Case No. 2:18-bk-20167-ER;
                                        19        Affects Verity Health System of California, Inc.   Case No. 2:18-bk-20168-ER;
                                                  Affects O’Connor Hospital                          Case No. 2:18-bk-20169-ER;
                                        20                                                           Case No. 2:18-bk-20171-ER;
                                                  Affects Saint Louise Regional Hospital
                                                  Affects St. Francis Medical Center                 Case No. 2:18-bk-20172-ER;
                                        21                                                           Case No. 2:18-bk-20173-ER;
                                                  Affects St. Vincent Medical Center                 Case No. 2:18-bk-20175-ER;
                                        22        Affects Seton Medical Center                       Case No. 2:18-bk-20176-ER;
                                                  Affects O’Connor Hospital Foundation               Case No. 2:18-bk-20178-ER;
                                        23        Affects Saint Louise Regional Hospital             Case No. 2:18-bk-20179-ER;
                                                  Foundation                                         Case No. 2:18-bk-20180-ER;
                                        24                                                           Case No. 2:18-bk-20181-ER;
                                                  Affects St. Francis Medical Center of Lynwood
                                        25        Foundation                                         Chapter 11 Cases
                                                  Affects St. Vincent Foundation
                                        26        Affects St. Vincent Dialysis Center, Inc.          Hon. Ernest M. Robles
                                                  Affects Seton Medical Center Foundation
                                        27        Affects Verity Business Services                   Adversary No. ___________.
                                                  Affects Verity Medical Foundation
                                        28

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                                        1          Affects Verity Holdings, LLC                           COMPLAINT TO AVOID AND
                                                   Affects De Paul Ventures, LLC                          RECOVER TRANSFERS PURSUANT
                                        2          Affects De Paul Ventures - San Jose Dialysis,          TO 11 U.S.C. §§ 547, 549, AND 550 AND
                                                                                                          TO DISALLOW CLAIMS PURSUANT
                                        3          LLC                                                    TO 11 U.S.C. § 502
                                        4              Debtors and Debtors In Possession.
                                              Verity Health System of California, Inc.,
                                        5
                                                              Plaintiff,
                                        6

                                        7     v.

                                        8     Blackbaud, Inc.,

                                        9                     Defendant.
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                        10
                                                      Verity Health System of California, Inc. (the “Plaintiff”), one of the debtors in the above-
                                        11
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                                             captioned chapter 11 case (each a “Debtor” and, collectively, the “Debtors”), files this complaint (the
            (213) 623-9300




                                        12
                                             “Complaint”) to avoid and recover preferential transfers against Blackbaud, Inc. (the “Defendant”) and
                                        13
                                             to disallow any claims held by Defendant. In support of this Complaint, Plaintiff alleges upon
                                        14
                                             information and belief that:
                                        15
                                                                                   JURISDICTION AND VENUE
                                        16
                                                      1.     This court has subject matter jurisdiction over this adversary proceeding, which arises
                                        17
                                             under title 11, arises in, and relates to a case under title 11, in the United States Bankruptcy Court for
                                        18
                                             the Central District of California (the “Court”), captioned In re Verity Health System of California, Inc.,
                                        19
                                             et al.,, Case No. 2:18-bk-20151-ER, pursuant to 28 U.S.C. §§ 157 and 1334(b).
                                        20
                                                      2.     The statutory and legal predicates for the relief sought herein are sections 502, 547, 549,
                                        21
                                             and 550 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)1 and Rules 3007
                                        22
                                             and 7001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).
                                        23
                                                      3.     This adversary proceeding is a “core” proceeding to be heard and determined by the
                                        24
                                             Court pursuant to 28 U.S.C. § 157(b)(2). Plaintiff consents to entry of final orders and judgment by the
                                        25
                                             Court.
                                        26

                                        27
                                             1All references to “§” herein are to sections of the Bankruptcy Code, 11 U.S.C. §§ 101, et seq. unless otherwise
                                        28   noted.

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                                        1              4.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.
                                        2
                                                                                            THE PARTIES
                                        3
                                                       5.      As more fully discussed in the Declaration Of Richard G. Adcock In Support Of First-
                                        4
                                             Day Motions,2 on the Petition Date (defined below), the Debtors operated as a nonprofit health care
                                        5
                                             system in the state of California.
                                        6
                                                       6.      Pursuant to §§ 547, 549, 550, 1106, and 1107, Plaintiff is authorized and has standing to
                                        7
                                             pursue this avoidance action.
                                        8
                                                       7.      Upon information and belief, Defendant was, at all relevant times, a vendor or creditor
                                        9
                                             that provided goods and/or services to or for the Debtors. Upon further information and belief, at all
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                                        10
                                             relevant times, Defendant’s principal place of business is located at 65 Fairchild Street, Charleston,
                                        11
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                                             South Carolina 29492.
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                                        12
                                                                                  PROCEDURAL BACKGROUND
                                        13
                                                       8.      On August 31, 2018 (the “Petition Date”), each of the Debtors filed a voluntary petition
                                        14
                                             for relief under the Bankruptcy Code. The Debtors’ chapter 11 cases (the “Debtors’ Cases”) are being
                                        15
                                             jointly administered. Since the commencement of the Debtors’ Cases, the Debtors have been operating
                                        16
                                             their businesses as debtors in possession pursuant to §§ 1107 and 1108.
                                        17
                                                       9.      On September 17, 2018, the Office of the United States Trustee appointed an Official
                                        18
                                             Committee of Unsecured Creditors in the Debtors’ Cases. See Docket No. 197.
                                        19
                                                       10.     On August 14, 2020, the Court entered the Order Confirming Modified Second Amended
                                        20
                                             Joint Chapter 11 Plan of Liquidation (Dated July 2, 2020) of the Debtors, the Prepetition Secured
                                        21
                                             Creditors, and the Committee. See Docket No. 5504.
                                        22

                                        23

                                        24

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                                        28   2   [Docket No. 8].

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                                        1                                          FACTUAL BACKGROUND

                                        2
                                                       11.   Prior to the Petition Date, the Debtors maintained business relationships with various
                                        3

                                        4    business entities, through which the Debtors regularly purchased, sold, received, and/or delivered goods

                                        5    and services.

                                        6              12.   As a part of a hospital system, the Debtors regularly purchased goods from various
                                        7
                                             entities including vendors, creditors, suppliers and distributors. The Debtors also regularly paid for
                                        8
                                             services used to facilitate its business.
                                        9
                                                       13.   The Debtors’ financial difficulties that led to the decision to file petitions for bankruptcy
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                                        10
                                             are attributable to a combination of factors, all of which placed significant stress on the Debtors’
                                        11
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                                        12   liquidity position in the months leading up to the Petition Date. These factors included, among other

                                        13   things: (i) the legacy burden of more than a billion dollars of bond debt and unfunded pension liabilities,
                                        14   (ii) an inability to renegotiate collective bargaining agreements or payor contracts, (iii) the continuing
                                        15
                                             need for significant capital expenditures for seismic obligations and gaining infrastructure, (iv) and the
                                        16
                                             general headwinds facing the hospital industry.
                                        17
                                                       14.   As of the Petition Date, the Debtors utilized and maintained a cash management system
                                        18

                                        19   (the “Cash Management System”) for the collection, concentration, management, and disbursement of

                                        20   funds in their business.3 As of the Petition Date, the Cash Management System consisted of lock box

                                        21   accounts, gross revenue accounts, operating accounts, payroll accounts, and other accounts. See Docket
                                        22   No. 23.
                                        23

                                        24

                                        25

                                        26
                                             3See Emergency Motion of Debtors for Authority to: (1) Continue Using Existing Cash Management System,
                                        27   Bank Accounts and Business Forms; (2) Implement Changes to the Cash Management System in the Ordinary
                                             Course of Business; (3) Continue Intercompany Transactions; (4) Provide Administrative Expense Priority for
                                        28   PostPetition Intercompany Claims; and (5) Obtain Related Relief [Docket No. 23].

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                                        1            15.     Among these bank accounts, the Debtors made disbursements to vendors from accounts
                                        2    ending 6389, 6365, 6384, 6407, 6421, 6426, 6402, 6440, 1597 at Bank of America, N.A. and account
                                        3
                                             ending 9996 at Wells Fargo Bank, N.A. (the “Disbursement Accounts”).
                                        4
                                                     16.     During the ninety (90) days before and including the Petition Date, that is between June
                                        5
                                             2, 2018 and August 31, 2018 (the “Preference Period”), the Debtors continued to operate their business,
                                        6

                                        7    including the transfer of money, either by checks, cashier checks, wire transfers, ACH transfers, direct

                                        8    deposits or otherwise to various entities.

                                        9            17.     Upon information and belief, during the course of their relationship, the Defendant and
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                                        10
                                             Debtors entered into agreements for the purchase of goods and/or services by Debtors from the
                                        11
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                                             Defendant, which are evidenced by one or more contracts, purchase orders, invoices, communications
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                                        12
                                             and other documents (collectively, the “Agreements”). Upon further information and belief, the
                                        13
                                             Agreements concerned and related to the goods and/or services provided by Defendant to the Debtors.
                                        14

                                        15   Verity Health System of California, Inc.’s payments to the Defendant pursuant to the Agreements during

                                        16   the Preference Period are set forth on the Statement of Account, which is attached hereto and
                                        17   incorporated by reference as Exhibit A.
                                        18
                                                     18.     Plaintiff is seeking to avoid all of the transfers of an interest of Debtors’ property made
                                        19
                                             by Debtors to Defendant within the Preference Period.
                                        20
                                                     19.     Verity Health System of California, Inc. made transfer(s) of an interest of Verity Health
                                        21

                                        22   System of California, Inc.’s property to or for the benefit of Defendant during the Preference Period

                                        23   through payments aggregating not less than the amount set forth on Exhibit A hereto (the “Transfer(s)”).

                                        24   The details of each Transfer are set forth on Exhibit A attached hereto and incorporated by reference.
                                        25           20.     Plaintiff, through counsel, sent a demand (the “Demand”) to Defendant, seeking a return
                                        26
                                             of the Transfer(s). The Demand indicated the potential statutory defenses available to Defendant
                                        27
                                             pursuant to § 547(c), and requested that if Defendant had evidence to support any affirmative defenses,
                                        28

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                                        1    it provide this evidence so Plaintiff could review the same. Plaintiff also performed its own due diligence
                                        2    evaluation of the reasonably knowable affirmative defenses available to Defendant.
                                        3
                                                     21.     Based upon Plaintiff’s review of the information, if any, provided by Defendant prior to
                                        4
                                             filing this Complaint, and after performing their own due diligence evaluation of the reasonably
                                        5
                                             knowable affirmative defenses to avoidance of the Transfer(s), Plaintiff has determined that it may avoid
                                        6

                                        7    some or all of the Transfers even after taking into account Defendant’s alleged affirmative defenses.

                                        8            22.     During the course of this proceeding, Plaintiff may learn (through discovery or

                                        9    otherwise) of additional transfers made to Defendant during the Preference Period. It is Plaintiff’s
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                                        10
                                             intention to avoid and recover all preferential transfers of property made by the Debtors to or for the
                                        11
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                                             benefit of Defendant or any other transferee. Plaintiff reserves its right to amend this original Complaint
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                                        12
                                             to include: (i) further information regarding the Transfer(s), (ii) additional transfers, (iii) modifications
                                        13
                                             of and/or revision to Defendant’s name, (iv) additional defendants, and/or (v) additional causes of
                                        14

                                        15   action, if applicable (collectively, the “Amendments”), that may become known to Plaintiff at any time

                                        16   during this adversary proceeding, through formal discovery or otherwise, and for the Amendments to
                                        17   relate back to this original Complaint.
                                        18
                                                                                  FIRST CLAIM FOR RELIEF
                                        19
                                                     (Avoidance of Preference Period Transfers from Verity Health System of California, Inc.
                                        20
                                                                                             – 11 U.S.C. § 547)
                                        21
                                                     23.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.
                                        22
                                                     24.     During the Preference Period, Verity Health System of California, Inc. made the
                                        23
                                             Transfers to or for the benefit of Defendant in an aggregate amount not less than the amount set forth
                                        24
                                             on Exhibit A hereto.
                                        25
                                                     25.     Each Transfer was made from the Disbursement Accounts described supra, and
                                        26
                                             constituted transfers of an interest in property of Verity Health System of California, Inc..
                                        27

                                        28

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                                        1            26.     Defendant was a creditor of Verity Health System of California, Inc. at the time of each

                                        2    Transfer by virtue of supplying goods and/or services identified in this Complaint and in the Agreements

                                        3    to Verity Health System of California, Inc., as more fully set forth on Exhibit A hereto, for which Verity

                                        4    Health System of California, Inc. was obligated to pay following delivery in accordance with the

                                        5    Agreements. See Exhibit A.

                                        6            27.     Each Transfer was to or for the benefit of a creditor within the meaning of § 547(b)(1)

                                        7    because each Transfer either reduced or fully satisfied a debt or debts then owed by Verity Health

                                        8    System of California, Inc. to Defendant. See Exhibit A.

                                        9            28.     Each Transfer was made for, or on account of, an antecedent debt or debts owed by
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                                        10   Verity Health System of California, Inc. to Defendant before such Transfers were made, as asserted by

                                        11   Defendant and memorialized in the Agreements, each of which constituted a “debt” or “claim” (as those
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                                        12   terms are defined in the Bankruptcy Code) of Defendant prior to being paid by Verity Health System of

                                        13   California, Inc.. See Exhibit A.

                                        14           29.     Each Transfer was made while Verity Health System of California, Inc. was insolvent.

                                        15   Verity Health System of California, Inc. is entitled to the presumption of insolvency for each Transfer

                                        16   made during the Preference Period pursuant to § 547(f).

                                        17           30.     Each Transfer was made during the Preference Period, as set forth on Exhibit A.

                                        18           31.     As a result of each Transfer, Defendant received more than Defendant would have

                                        19   received if: (i) Verity Health System of California, Inc.’s case was under chapter 7 of the Bankruptcy

                                        20   Code; (ii) the Transfers had not been made; and (iii) Defendant received payments of its debts under the

                                        21   provisions of the Bankruptcy Code. As evidenced by Verity Health System of California, Inc.’s

                                        22   schedules filed in the underlying bankruptcy case as well as the proofs of claim that have been received

                                        23   to date, Verity Health System of California, Inc.’s liabilities exceed its assets to the point that unsecured

                                        24   creditors will not receive a full payout of their claims from Verity Health System of California, Inc.’s

                                        25   bankruptcy estate.

                                        26           32.     In accordance with the foregoing, each Transfer is avoidable pursuant to § 547(b).

                                        27

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                                        1                                       SECOND CLAIM FOR RELIEF
                                        2                      (Avoidance of Unauthorized Post-Petition Transfers – 11 U.S.C. § 549)
                                        3
                                                     33.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.
                                        4
                                                     34.     To the extent any of the Transfer(s) identified on Exhibit A cleared the Disbursement
                                        5
                                             Account(s) after the Petition Date and were not authorized by the Court or the Bankruptcy Code (the
                                        6

                                        7    “Post-Petition Transfers”), Plaintiff pleads that such Post-Petition Transfers are avoidable pursuant to §

                                        8    549.

                                        9                                        THIRD CLAIM FOR RELIEF
601 SOUTH FIGUEROA STREET, SUITE 2500
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                                        10
                                                                     (Recovery of Preferential Transfers – 11 U.S.C. § 550)
                                        11
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                                                     35.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.
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                                        12
                                                     36.     Plaintiff is entitled to avoid the Transfer(s) pursuant to § 547(b) and/or any Post-Petition
                                        13
                                             Transfers pursuant to § 549 (collectively, the “Avoidable Transfers”).
                                        14

                                        15           37.     Defendant was the initial transferee of the Avoidable Transfers or the immediate or

                                        16   mediate transferee of such initial transferee or the person for whose benefit the Avoidable Transfers
                                        17   were made.
                                        18
                                                     38.     Pursuant to § 550(a), Plaintiff is entitled to recover the Avoidable Transfers from
                                        19
                                             Defendant, plus interest thereon to the date of payment and the costs of this action.
                                        20
                                                                                FOURTH CLAIM FOR RELIEF
                                        21

                                        22                          (Disallowance of all Claims – 11 U.S.C. § 502(d) and (j))

                                        23           39.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.

                                        24           40.     Defendant is a transferee of transfers avoidable under §§ 547 and/or 549, which property
                                        25   is recoverable under § 550.
                                        26
                                                     41.     Defendant has not paid the amount of the Avoidable Transfers, or turned over such
                                        27
                                             property, for which Defendant is liable under § 550.
                                        28

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                                        1            42.      Pursuant to § 502(d), any and all Claims of Defendant and/or its assignee, against the
                                        2    Debtors’ estate must be disallowed until such time as Defendant pays to the Debtors an amount equal
                                        3
                                             to the aggregate amount of the Avoidable Transfers, plus interest thereon and costs.
                                        4
                                                     43.      Pursuant to § 502(j), any and all Claims of Defendant, and/or its assignee, against the
                                        5
                                             Debtors’ estate previously allowed by the Debtors, must be reconsidered and disallowed until such time
                                        6

                                        7    as Defendant pays to the Debtors an amount equal to the aggregate amount of the Avoidable Transfers.

                                        8                                                    PRAYER

                                        9                 WHEREFORE, Plaintiff prays for entry of judgment against Defendant as follows:
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                                        10
                                                     1.       On the First, Second, and Third Claims for Relief, judgment in favor of Plaintiff and
                                        11
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                                             against Defendant, avoiding all of the Avoidable Transfers and directing Defendant to return to Plaintiff
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                                        12
                                             the amount of the Avoidable Transfers, pursuant to §§ 547(b), 549, and 550(a), plus interest from the
                                        13
                                             date of demand at the maximum legal rate and to the fullest extent allowed by applicable law, together
                                        14

                                        15   with the costs and expenses of this action including, without limitation, attorneys’ fees;

                                        16           2.       On Plaintiff’ Fourth Claim for Relief, judgment in favor of Plaintiff and against
                                        17   Defendant disallowing any claims held or filed by Defendant against Plaintiff until Defendant returns
                                        18
                                             the Avoidable Transfers to Plaintiff pursuant to § 502(d) and (j); and
                                        19
                                                     3.       For such other and further relief as the Court deems just and proper.
                                        20

                                        21

                                        22

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                                        1    DATED: August 27, 2020
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                                        4
                                                                                  and
                                        5
                                                                                  ASK LLP
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                                        7                                         Brigette McGrath

                                        8                                         By:            /s/ Tania M. Moyron
                                                                                                 Tania M. Moyron
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                                                                                        Attorneys for the Chapter 11 Debtors and
 LOS ANGELES, CALIFORNIA 90017-5704




                                        10
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                                        11
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